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Daniel Patrick Moynihan United States Courthouse
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500 Pearl Street                                                                                                                 a..-. _,,/t:J_ c;_/
NewYork, NY 10007                                                                                                     :5p        q/~~(.

       Re :    Perrone v. United States, 20 CV 5111 (JGK)                                                          ~
Dear Judge Koeltl:
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       This Office represents defendant United States in this car accident case brought under the
Federal Tort Claims Act. On behalf of all parties, I write at the suggestion of Your Honor's
courtroom deputy concerning the initial conference before the Court scheduled for November 9,
2020, at 3 :00 p.m. On October 30, the Court "so-ordered" the parties proposed case management
plan. Dkt. No. 13. In light of the entry of this order, the parties write respectfully to inform the
Court that neither party intends to raise any issues at the November 9 conference and respectfull y
suggest that the conference be adjourned .

       We thank the Court for its consideration of this request.

                                                                                            Respectful Iy,

                                                                                            AUDREY STRAUSS
                                                                                            Acting United States Attorney for the
                                                                                            Southern District of New York


                                                                               By:          Isl Brandon Cowart
                                                                                            BRANDON H. COWART
                                                                                            Assistant United States Attorney
                                                                                            Telephone: (212) 63 7-2693
                                                                                            Fax : (212) 63 7-2702
                                                                                            Email: brandon.cowart@usdoj.gov

cc:    Richard Elem (by ECF)
        Counsel for Plaintiff
